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                     IN THE UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF ALASKA

     UNITED STATES OF AMERICA,          No. 3:23-cr-00017-SLG-KFR

                          Plaintiff,    COUNT 1:
                                        ENGAGING IN THE BUSINESS OF
          v.                            DEALING FIREARMS WITHOUT A
                                        LICENSE
     CORNELIUS LEON WILLIAM              Vio. of 18 U.S.C. §§ 922(a)(1)(A),
     SMITH,                             923(a), and 924(a)(1)(D)

                          Defendant.    COUNT 2:
                                        TRANSFERRING A FIREARM TO
                                        AN OUT-OF-STATE RESIDENT
                                         Vio. of 18 U.S.C. §§ 922(a)(5),
                                        924(a)(1)(D)

                                        COUNTS 3-11:
                                        FALSE STATEMENT DURING
                                        PURCHASE OF FIREARM
                                         Vio. of 18 U.S.C. §§ 922(a)(6),
                                        924(a)(2)


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                                   INDICTMENT

       The Grand Jury charges that:

                                         COUNT 1

       Beginning no later than on or about February 18, 2021, the precise date being

unknown to the Grand Jury, and continuing until on or about April 26, 2022, within the

District of Alaska and elsewhere, the defendant, CORNELIUS LEON WILLIAM

SMITH, not being a licensed dealer of firearms within the meaning of Chapter 44, Title

18, United States Code, did willfully engage in the business of dealing in firearms.

       All of which is in violation of 18 U.S.C. §§ 922(a)(1)(A), 923(a), and

924(a)(1)(D).

                                         COUNT 2

       Between on or about March 26, 2021, and on or about April 11, 2021, within the

District of Alaska and elsewhere, the defendant, CORNELIUS LEON WILLIAM

SMITH, not being a licensed importer, manufacturer, dealer, and collector of firearms,

within the meaning of Chapter 44, Title 18, United States Code, did willfully transfer,

sell, trade, give, transport, and deliver a firearm, that is, a Springfield Armory model

XD40 .40-caliber pistol, to Andrew Williams, said person not being a licensed importer,

manufacturer, dealer, and collector of firearms, within the meaning of Chapter 44, Title

18, United States Code, and knowing and with reasonable cause to believe that said

person was not then residing in the State of Alaska, the State in which the defendant was




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residing at the time of the aforesaid transfer, sale, trade, giving, transportation, or delivery

of the firearm.

       All of which is in violation of 18 U.S.C. §§ 922(a)(5) and 924(a)(1)(D).

                                          COUNT 3

       On or about May 1, 2021, within the District of Alaska, the defendant,

CORNELIUS LEON WILLIAM SMITH, in connection with the acquisition of a firearm,

a Glock model 23 .40-caliber pistol, from Granny’s Guns, a licensed dealer of firearms

within the meaning of Chapter 44, Title 18, United States Code, knowingly made a false

and fictitious statement to Granny’s Guns, which statement was intended to and likely to

deceive Granny’s Guns, as to a fact material to the lawfulness of such sale of the said

firearm to the defendant under Chapter 44 of Title 18, in that the defendant did execute

Department of Justice, Bureau of Alcohol, Tobacco, Firearms, and Explosives Form

4473, Firearms Transaction Record, to the effect that he was the “actual transferee/buyer”

of the firearms indicated on the Form 4473, when in fact as the defendant then knew, he

was not the “actual transferee/buyer” of the firearm.

       All of which is in violation of 18 U.S.C. §§ 922(a)(6) and 924(a)(2).

                                          COUNT 4

       On or about May 1, 2021, within the District of Alaska, the defendant,

CORNELIUS LEON WILLIAM SMITH, in connection with the acquisition of a firearm,

a Glock GMBH model 21 .45-caliber pistol, from Boondocks, a licensed dealer of

firearms within the meaning of Chapter 44, Title 18, United States Code, knowingly

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made a false and fictitious statement to Boondocks, which statement was intended to and

likely to deceive Boondocks, as to a fact material to the lawfulness of such sale of the

said firearm to the defendant under Chapter 44 of Title 18, in that the defendant did

execute Department of Justice, Bureau of Alcohol, Tobacco, Firearms, and Explosives

Form 4473, Firearms Transaction Record, to the effect that he was the “actual

transferee/buyer” of the firearms indicated on the Form 4473, when in fact as the

defendant then knew, he was not the “actual transferee/buyer” of the firearm.

       All of which is in violation of 18 U.S.C. §§ 922(a)(6) and 924(a)(2).

                                        COUNT 5

       On or about June 17, 2021, within the District of Alaska, the defendant,

CORNELIUS LEON WILLIAM SMITH, in connection with the acquisition of a firearm,

a Glock model 21 Gen4 .45-caliber pistol, from Sportsman’s Warehouse, a licensed

dealer of firearms within the meaning of Chapter 44, Title 18, United States Code,

knowingly made a false and fictitious statement to Sportsman’s Warehouse, which

statement was intended to and likely to deceive Sportsman’s Warehouse, as to a fact

material to the lawfulness of such sale of the said firearm to the defendant under Chapter

44 of Title 18, in that the defendant did execute Department of Justice, Bureau of

Alcohol, Tobacco, Firearms, and Explosives Form 4473, Firearms Transaction Record, to

the effect that he was the “actual transferee/buyer” of the firearms indicated on the Form

4473, when in fact as the defendant then knew, he was not the “actual transferee/buyer”

of the firearm.

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       All of which is in violation of 18 U.S.C. §§ 922(a)(6) and 924(a)(2).

                                        COUNT 6

       On or about June 19, 2021, within the District of Alaska, the defendant,

CORNELIUS LEON WILLIAM SMITH, in connection with the acquisition of a firearm,

a Glock GMBH model 31 .357-caliber pistol, from Polar Armory, a licensed dealer of

firearms within the meaning of Chapter 44, Title 18, United States Code, knowingly

made a false and fictitious statement to Polar Armory, which statement was intended to

and likely to deceive Polar Armory, as to a fact material to the lawfulness of such sale of

the said firearm to the defendant under Chapter 44 of Title 18, in that the defendant did

execute Department of Justice, Bureau of Alcohol, Tobacco, Firearms, and Explosives

Form 4473, Firearms Transaction Record, to the effect that he was the “actual

transferee/buyer” of the firearms indicated on the Form 4473, when in fact as the

defendant then knew, he was not the “actual transferee/buyer” of the firearm.

       All of which is in violation of 18 U.S.C. §§ 922(a)(6) and 924(a)(2).

                                        COUNT 7

       On or about June 21, 2021, within the District of Alaska, the defendant,

CORNELIUS LEON WILLIAM SMITH, in connection with the acquisition of a firearm,

a Smith & Wesson model SD40VE .40-caliber pistol, from Cash America, a licensed

dealer of firearms within the meaning of Chapter 44, Title 18, United States Code,

knowingly made a false and fictitious statement to Cash America, which statement was

intended to and likely to deceive Cash America, as to a fact material to the lawfulness of

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such sale of the said firearm to the defendant under Chapter 44 of Title 18, in that the

defendant did execute Department of Justice, Bureau of Alcohol, Tobacco, Firearms, and

Explosives Form 4473, Firearms Transaction Record, to the effect that he was the “actual

transferee/buyer” of the firearms indicated on the Form 4473, when in fact as the

defendant then knew, he was not the “actual transferee/buyer” of the firearm.

       All of which is in violation of 18 U.S.C. §§ 922(a)(6) and 924(a)(2).

                                         COUNT 8

       On or about June 21, 2021, within the District of Alaska, the defendant,

CORNELIUS LEON WILLIAM SMITH, in connection with the acquisition of a firearm,

a Glock GMBH model 34 9mm-caliber pistol, from Cash America, a licensed dealer of

firearms within the meaning of Chapter 44, Title 18, United States Code, knowingly

made a false and fictitious statement to Cash America, which statement was intended to

and likely to deceive Cash America, as to a fact material to the lawfulness of such sale of

the said firearm to the defendant under Chapter 44 of Title 18, in that the defendant did

execute Department of Justice, Bureau of Alcohol, Tobacco, Firearms, and Explosives

Form 4473, Firearms Transaction Record, to the effect that he was the “actual

transferee/buyer” of the firearms indicated on the Form 4473, when in fact as the

defendant then knew, he was not the “actual transferee/buyer” of the firearm.

       All of which is in violation of 18 U.S.C. §§ 922(a)(6) and 924(a)(2).

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                                        COUNT 9

       On or about June 22, 2021, within the District of Alaska, the defendant,

CORNELIUS LEON WILLIAM SMITH, in connection with the acquisition of a firearm,

an Armscor model M191-A1-FS .45-caliber pistol, from Polar Armory, a licensed dealer

of firearms within the meaning of Chapter 44, Title 18, United States Code, knowingly

made a false and fictitious statement to Polar Armory, which statement was intended to

and likely to deceive Polar Armory, as to a fact material to the lawfulness of such sale of

the said firearm to the defendant under Chapter 44 of Title 18, in that the defendant did

execute Department of Justice, Bureau of Alcohol, Tobacco, Firearms, and Explosives

Form 4473, Firearms Transaction Record, to the effect that he was the “actual

transferee/buyer” of the firearms indicated on the Form 4473, when in fact as the

defendant then knew, he was not the “actual transferee/buyer” of the firearm.

       All of which is in violation of 18 U.S.C. §§ 922(a)(6) and 924(a)(2).

                                        COUNT 10

       On or about June 22, 2021, within the District of Alaska, the defendant,

CORNELIUS LEON WILLIAM SMITH, in connection with the acquisition of a firearm,

a Smith & Wesson model SD9VE 9mm-caliber pistol, from Sportsman’s Warehouse, a

licensed dealer of firearms within the meaning of Chapter 44, Title 18, United States

Code, knowingly made a false and fictitious statement to Sportsman’s Warehouse, which

statement was intended to and likely to deceive Sportsman’s Warehouse, as to a fact

material to the lawfulness of such sale of the said firearm to the defendant under Chapter

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44 of Title 18, in that the defendant did execute Department of Justice, Bureau of

Alcohol, Tobacco, Firearms, and Explosives Form 4473, Firearms Transaction Record, to

the effect that he was the “actual transferee/buyer” of the firearms indicated on the Form

4473, when in fact as the defendant then knew, he was not the “actual transferee/buyer”

of the firearm.

       All of which is in violation of 18 U.S.C. §§ 922(a)(6) and 924(a)(2).

                                        COUNT 11

       On or about June 23, 2021, within the District of Alaska, the defendant,

CORNELIUS LEON WILLIAM SMITH, in connection with the acquisition of a firearm,

a Glock GMBH model 43X 9mm-caliber pistol, from Boondocks, a licensed dealer of

firearms within the meaning of Chapter 44, Title 18, United States Code, knowingly

made a false and fictitious statement to Boondocks, which statement was intended to and

likely to deceive Boondocks, as to a fact material to the lawfulness of such sale of the

said firearm to the defendant under Chapter 44 of Title 18, in that the defendant did

execute Department of Justice, Bureau of Alcohol, Tobacco, Firearms, and Explosives

Form 4473, Firearms Transaction Record, to the effect that he was the “actual

transferee/buyer” of the firearms indicated on the Form 4473, when in fact as the

defendant then knew, he was not the “actual transferee/buyer” of the firearm.

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      All of which is in violation of 18 U.S.C. §§ 922(a)(6) and 924(a)(2).

      A TRUE BILL.

                                                s/ Grand Jury Foreperson
                                                GRAND JURY FOREPERSON



s/ Jennifer Ivers
JENNIFER IVERS
Assistant U.S. Attorney
United States of America



s/ William Taylor for
S. LANE TUCKER
United States Attorney
United States of America


DATE:      February 21, 2023




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